     Case 8:17-cv-02208-JLS-JDE Document 33 Filed 04/18/18 Page 1 of 5 Page ID #:200




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 6    Attorneys for Plaintiffs and the Proposed Class
 7    [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]
 8
 9                                UNITED STATES DISTRICT COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11
      JAMES KINNICK and WALLACE                              Case No.: 8:17-cv-02208-JLS-JDE
12    COATS, on behalf of themselves and
      all others similarly situated,                         CLASS ACTION
13
                      Plaintiffs,                            PLAINTIFFS’ UNOPPOSED NOTICE OF
14                                                           MOTION AND MOTION FOR THE
              v.                                             APPOINTMENT OF INTERIM CLASS
15                                                           COUNSEL; MEMORANDUM OF POINTS
      HYUNDAI MOTOR COMPANY,                                 AND AUTHORITIES; DECLARATION
16    LTD, HYUNDAI MOTOR                                     OF MATTHEW D. SCHELKOPF;
      AMERICA, INC., and DOES 1 through                      DECLARATION OF ADAM GONELLI;
17    10, Inclusive,                                         [PROPOSED] ORDER
18                    Defendants.                            Hearing Date:   June 8, 2018
                                                             Hearing Time:   2:30 p.m.
19                                                           Courtroom:      10A
20
21
22            PLEASE TAKE NOTICE that on June 8, 2018, at 2:30 p.m. in Courtroom
23    10A of the Ronald Reagan Federal Building and United States Courthouse, 411 W.
24    Fourth St., Santa Ana, CA, 92701, Plaintiffs James Kinnick and Wallace Coats will
25    move for an order appointing interim class counsel.
26            This motion will be based on the attached Memorandum of Points and
27    Authorities, the Declarations of Matthew D. Schelkopf and Adam Gonelli and
28

      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-02208-JLS-JDE
     Case 8:17-cv-02208-JLS-JDE Document 33 Filed 04/18/18 Page 2 of 5 Page ID #:201




 1    exhibits attached thereto, and on such other evidence or argument as may be
 2    offered at any hearing on this motion. A proposed order is enclosed herewith.
 3    DATED: April 17, 2018.                                    SAUDER SCHELKOPF LLC
 4                                                              By:   /s/ Matthew D. Schelkopf
                                                                      Joseph G. Sauder
 5                                                                    Matthew D. Schelkopf (pro hac
                                                                      vice)
 6                                                                    Joseph B. Kenney
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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-02208-JLS-JDE
     Case 8:17-cv-02208-JLS-JDE Document 33 Filed 04/18/18 Page 3 of 5 Page ID #:202




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11                                                                    Proposed Interim Co-Lead Counsel
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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-02208-JLS-JDE
     Case 8:17-cv-02208-JLS-JDE Document 33 Filed 04/18/18 Page 4 of 5 Page ID #:203




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22                                                                    Attorneys for Plaintiffs
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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-02208-JLS-JDE
     Case 8:17-cv-02208-JLS-JDE Document 33 Filed 04/18/18 Page 5 of 5 Page ID #:204




 1                                        CERTIFICATE OF SERVICE
 2            I, Matthew D. Schelkopf, hereby certify that on this 17th day of April, 2018, I caused
 3    the foregoing to be filed using the Court’s CM/ECF system, and thereby electronically
 4    served it upon all registered ECF users in this case.
 5
 6
 7        DATED: April 17, 2018.                                Respectfully submitted,
 8
 9                                                      By:     /s/ Matthew D. Schelkopf
10                                                              Matthew D. Schelkopf
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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-02208-JLS-JDE
